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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                August 24, 2021
                           UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

TRAVIS JAMES MULLIS,               §
                                   §
     Petitioner,                   §
VS.                                § CIVIL ACTION NO. 3:13-CV-121
                                   §
BOBBY LUMPKIN, Director, TDCJ-CID, §
                                   §
     Respondent.                   §

                                            ORDER

       On July 20, 2021, the Court entered a Memorandum and Order denying Travis

James Mullis’ petition for a writ of habeas corpus. (Docket Entry No. 175). The Court

also denied Mullis’ pro se motion to dismiss counsel. Mullis has now filed a pro se

motion for reconsideration. (Docket Entry No. 177). Among other arguments, Mullis

complains that his appointed attorneys will not follow his directions or wishes concerning

the future trajectory of this litigation.

       Additional insight from the parties would aid this Court’s consideration of Mullis’

pro se motion. Respondent Bobby Lumpkin and Mullis’ appointed attorneys may submit

any briefing relating to his motion for reconsideration within ten days from the entry of

this Order.


       SIGNED at Galveston, Texas, this 24th day of August, 2021.


                                              ___________________________________
                                              GEORGE C. HANKS, JR.
                                              UNITED STATES DISTRICT JUDGE




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